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            Exhibit 11
     Case 2:16-cv-06576-KM-MAH Document 266-11 Filed 10/10/22 Page 2 of 6 PageID: 11873


Emily Santana

From:                                 Wilson Zuluaga <wilsonz@latinfoodus.com>
Sent*                                 Thursday, December 07, 2017 6:02 PM
To:                                   'Mark J. Engber’
Cc                                    'Emily Santana'
Subject                               FW: Zenu Labels
Attachments:                          Salchichon_Cervecero copy.jpg; Salchichon^Tradicional copy.jpg; Chorl20_Mejicano.jpg




From: Jaline Isidor [mailto:jalinel@cibaomeat.com]
Sent: Tuesday, December 5, 2017 5:27 PM
To: Wilson Zuluaga <WilsonZ@latinfoodus.com>
Subject: FW: Zenu Labels



Jaline G. Isidor | Marketing
Cibao Meat Products |           r/r   '

630 Saint Ann's Ave., Bronx, NY 10455
T: 718-993-5072 | F: 718-993-5638
CibaoMeat.com | Jaltnel@cibaomeat.com

From: Jaline Isidor <ialinei@cibaomeat.com>
Date: Tuesday, October 8, 2013 at 9:57 AM
To; Wilson Zuluaga <WilsonZ0tatinfoodus.com>
Cc: Julio Isidor <iisidQr®cibaomeat.com>
Subject: Zenu Labels

Good Morning!

Since I will not be here for the meeting on Thursday 1 am sending you a preview of what the labels will look like for the
Chorizo's and a sample of what the Salchichon casings will look like.

A few questions though...

The images for the Chorizo are subject to change.
I used the images from www.zenu.com.co website for all 3 Chorizo's (con Ternera, Colombiano, Mejicano).
Do you have permission to use their images? Especially for label purposes?
If so please let us know.
If not then there can be lawsuits from the company to you for using their images without permission.
Also If not, you can either provide us with images of the products once they have been made or I can do it for an additional
cost.*
                                                                                                                   EXMBrr
1 would also like to know which form of the word Mexico would you like to use for the Chorizo.
Mejicano or Mexicano
So I can use the correct terminology in the label. It is currently
Mejicano.

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    In terms of the Salchichon.
    First we had Cervecero Premium using the Cibao Meat Campesino Salami because you said was close to its' taste. Then
    changed your mind to using Tradidonal which is Cibao Meat Del Pueblo Salami.
    Then we had Ceveroni using the Cibao Meat Checo Salami because that one was close to its’ taste, then changed your mind
    and said you now want the Cevecero.
    So now we have Cervecero... which Cibao Meat Salami is close to its' taste since you have eliminated the two listed above?

    In terms of products that we will be making for you this is the updated list:

    Cervecero —-------     -“> 16 oz —        >?
    Tradidonal------------ —> 16 oz —         > Del Pueblo
    Chorizocon Ternera- -> 15 oz—          —> This one and Colombiano the formula is being worked on
    ChorizoColombiano' -.*> 15 oz—-        —> this one similar to the Chorizo Antiqueno
    Chorizo estilo Mejicano—> 15 02 / 48 oz -> VerMex Chohzo

    "‘Once the 3 Chorizo's have been physically made I can photograph them edit them accordingly and use them for labeling
    purposes ONLY I will leave a contract with Julio if you would like to use my services. Thank you.

    Regards.

    Jallne G. Isidor | Marketing Assistant
    Cibao Meat Products |
    630 Saint Ann's Ave., Bronx, NY 10455
    1:718-993-5072 | F: 718-993-5638
    Jalinel@cibaomeatxom


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